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                              UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION

__________________________________________
                                                               )
BRENNA BIRD, in her official capacity                          )
as Attorney General of Iowa, et al.                            )
                                                               )
                                             Plaintiffs,       )
                                                               )
                  v.                                           )         No. 4:24-cv-423-SHL-HCA
                                                               )
ALEJANDRO MAYORKAS, in his official                            )
Capacity as United States Secretary of Homeland                )
Security, et al.,                                              )
                                                               )
                                             Defendants.       )
                                                               )


              DEFENDANTS’ CONSENT MOTION FOR AN EXTENSION OF TIME
               TO ANSWER OR OTHERWISE RESPOND TO THE COMPLAINT
         Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Defendants Alejandro

Mayorkas in his official capacity as Secretary of the U.S. Department of Homeland Security (the

“Secretary”); the U.S. Department of Homeland Security (the “Department”); Ur M. Jaddou in her

official capacity as Director of U.S. Citizenship and Immigration Services (the “Director”), and

the U.S. Citizenship and Immigration Services (“USCIS” and collectively with the Secretary,

Department, and Director, “Defendants”) respectfully move the Court for a 60-day extension to

answer or otherwise respond to the Complaint, see ECF No. 1 (“Compl.”), from February 4, 2025

to April 7, 2025. 1 The undersigned counsel has consulted with counsel for the Plaintiffs, who

consent to the requested extension. In support of this Motion, Defendants state as follows:

         1.       On December 3, 2024, Plaintiffs filed this action seeking to compel the Department

to provide a response to Plaintiffs’ voter citizenship inquiries. See Complaint, ECF No. 1.

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          A sixty-day extension would place the new deadline on April 5, 2025, which is a Saturday. Pursuant to
Federal Rule of Civil Procedure 6(a)(1)(C), because the last day of the time period is a Saturday, the deadline runs
through the next day that is not a Saturday, Sunday, or legal holiday—that is, April 7, 2025.
                                                               1
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       2.        The Complaint was served on the United States Attorney for the Southern District

of Ohio on December 6, 2024. As result, Defendants’ deadline to answer or otherwise respond to

the Complaint is February 4, 2025. See Fed. R. Civ. P. 12(a)(2).

       3.        Defendants respectfully request an extension of 60 days, from February 4, 2025 to

April 7, 2025, to answer or otherwise respond to the Complaint. Defendants respectfully submit

that good cause exists to grant the requested extension: Defendants require additional time to

obtain sufficient information to respond to the Complaint and to coordinate with the defending

agency clients and in light of undersigned counsel’s workload in other cases to which he is

assigned. No previous extensions of time have been requested by Defendants in this matter. See

Local Rule 7j.

       4.        Pursuant to Local Rule 7k, the undersigned conferred with Plaintiffs’ counsel, who

consent to the relief sought herein. No trial date or other deadlines have been set in this case, and

the granting of this extension will not impact any other deadline.

       WHEREFORE, Defendants respectfully submit that the Court should grant the requested

relief to extend the time within which Defendants must answer or otherwise respond by sixty (60)

days, up to and including April 7, 2025.




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 Dated: January 6, 2025          Respectfully submitted,

                                 BRIAN M. BOYNTON
                                 Principal Deputy Assistant Attorney General

                                 JOSHUA E. GARDNER
                                 Special Counsel
                                 Civil Division

                                 /s/ Samson F. Cohen
                                 Samson F. Cohen (D.C. Bar No. 90004821)
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                                 Counsel for Defendants




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